Case: 3:17-po-00046-RM Document#:9 Filed: 11/30/17 Page1ofi1

IN THE DISTRICT COURT OF THE VIRGIN ISLANDS

DIVISION OF ST. THOMAS AND ST. JOHN
UNITED STATES OF AMERICA
CASE NO. 17-po-46
Vv.

RYAN BANE,

Defendant.

Nome” Yemen” “eee” “eee” Name” “See” “me”

ORDER
This matter having come before the Court on the government’s motion to dismiss
the above case; and the Court having considered the premises, it is hereby
ORDERED that the United States’ motion is hereby GRANTED; it is further

ORDERED that the case is hereby DISMISSED.

Dated: _!) bs | ) Abs Pr2p

RUTH MILLER
U.S. MAGISTRATE JUDGE
